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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
NA’EEM BETZ,                         )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )  Civil Action No. 21-1080 (ABJ)
                                     )
MY COMPUTER CAREER, INC.,            )
                                     )
                  Defendant.         )
____________________________________)


                                    SCHEDULING ORDER

       After the scheduling teleconference held on July 16, 2021, and in light of the joint report

submitted by the parties pursuant to Local Civil Rule 16.3, it is ORDERED that:

       1. Initial disclosures required by Federal Rule of Civil Procedure 26(a)(1) are due by
          July 31, 2021.

       2. Any motion to join additional parties or amend pleadings is due by August 30, 2021.

       3. All discovery must be completed by December 7, 2021.

       4. A post-discovery status hearing will be held on December 10, 2021, at 10:00 am,
          in person in Courtroom 3 before Judge Amy Berman Jackson. The schedule for
          dispositive motions will be established at that time if necessary.

       It is FURTHER ORDERED that the parties must read and comply with all of the Local

Rules of this Court, particularly Local Civil Rules 5.1(a),(b), and (d); 5.2(a); and 5.4. Rule 5.2(a)

shall apply to any initial disclosures or expert disclosures or any other discovery materials

transmitted pursuant to Federal Rule of Civil Procedure 26 or this Scheduling Order. All rules

will be enforced by the Court whether they are specifically mentioned in this Scheduling Order or

not.


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                                          DISCOVERY

       The parties are required to confer in good faith in an effort to resolve all discovery disputes

before bringing any dispute to the Court. If the parties have conferred about the specific matter

in dispute and agree that they cannot resolve the issue themselves, counsel for defendant may

contact chambers to arrange a telephone conference with the Court, the plaintiff, and the

defendant, and propose times that are convenient to both sides. No written discovery motion

may be filed without a prior conference with the Court and leave of Court.

       With respect to depositions, the Court expects that the parties will endeavor in good faith

to resolve disputes among themselves, and it cautions that while appropriate objections may be

noted for the record, no lawyer may instruct a witness not to answer a question unless the question

calls for the revelation of privileged material. Disputes brought to the Court for resolution may be

subject to the sanctions provisions set forth in Federal Rule of Civil Procedure 37 and Local Civil

Rule 26.2(a).

                                  SCHEDULING MATTERS

       The parties are directed to contact the Court’s Courtroom Deputy in the first instance to

request the rescheduling of court appearances. The party seeking the change in schedule must first

confer with the other party and be prepared to provide the Courtroom Deputy with proposed

mutually agreeable dates.

       Extensions of time to file dispositive motions, status reports, or expert witness

designations, or to complete discovery, will be granted as a matter of course if all parties consent

and if the extensions will not require a change in any scheduled court appearance (status

conference, motion hearing, pretrial conference, trial). But any motion to extend a deadline set

by the Court must be filed at least two business days prior to the date to be extended. Motions

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that do not comply with this requirement, including consent motions, will be denied absent a

statement demonstrating good cause for the failure to do so.

                                            MOTIONS

       Motions that do not comply with Local Civil Rule 7 may be denied or stricken sua sponte.

       A party seeking leave to file a pleading in excess of the page limits set by Local Rule 7(e)

must request leave to do so at least one week before the pleading is due.

       Parties must comply with Local Civil Rule 5.1(d), which requires the use of 12 point font

for footnotes as well as the body of any pleading.

       A party may not file a sur-reply without first requesting leave of the Court.

       Motions for reconsideration of prior rulings are strongly discouraged. They may be filed

only when the requirements of Federal Rules of Civil Procedure 54(b), 59(e), and/or 60(b) are met.

If such a motion is filed, it shall not exceed ten (10) pages in length. Moreover, the Court may

strike: (a) motions which simply reassert arguments previously raised and rejected by the Court;

or (b) arguments which should have been previously raised, but are being raised for the first time.

See Nat’l Trust v. Dep’t of State, 834 F. Supp. 453, 455 (D.D.C. 1995).

       The parties may file a joint motion for a protective order governing the treatment of

confidential material such as medical or personnel records. However, the order may not require

that if submitted to the court, confidential material “must be filed under seal”; it may provide that

such material must be filed with a motion for leave to file under seal in accordance with Local

Civil Rule 5.1(h)(1).

                                         SETTLEMENT

       The parties are expected to continue to evaluate their respective cases for settlement

purposes, and the parties may notify chambers at any time if they jointly conclude that the case

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would benefit from the assistance of a Magistrate Judge or if they jointly request that the matter be

returned to the Court’s Mediation Program. If the case settles in whole or in part, the parties shall

advise the Court by promptly filing a stipulation.

        SO ORDERED.




                                              _______________________
                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: July 16, 2021




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